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                         United States District Court
                         Eastern District of Michigan
                              Southern Division

United States of America,

            Plaintiff,
                                         Hon. Stephanie Dawkins Davis
V.
                                         Case No. 20-CR-20615
Robert J. Massey,

            Defendant.
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                             Plea Agreement
     The United States of America and the defendant, Robert J.

Massey. have reached a plea agreement under Federal Rule of Criminal

Procedure 11. The "government" in this matter is represented by the

U.S. Attorney's Office for the Eastern District of Michigan and the

Environmental Crimes Section of the U.S. Department of Justice. The

plea agreement's terms are:

1.   Count of Conviction

     The defendant will waive his right to an indictment and will plead

guilty to Count 1 of the Information. Count 1 charges the defendant




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         January 14, 2021
